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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                           CASE NO. 25-20577-CIV-ALTONAGA/Reid

  In re:
  THE COMPLAINT OF BRP
  CORPORATE SERVICES LLC
  ______________________________/

                                                ORDER

         THIS CAUSE came before the Court on the Motion for Order Approving Ad Interim

  Stipulation for Value . . . [ECF No. 9]. Being fully advised, it is

         ORDERED AND ADJUDGED that the Motion [ECF No. 9] is GRANTED as follows:

         A Complaint for Exoneration From or Limitation of Liability (“Petition”) [ECF No. 1]

  having been filed herein on the 7th day of February, 2025, by Petitioner, BRP Corporate Services

  LLC, as Owner of a 2016 27’ Sailfish, Model 275 DC, HIN # YSIC0099J516, Florida Vessel

  Registration Number, FL 4080 TD, with Twin 2015 Mercury Marine 150 HP outboard motors

  bearing serial numbers 2B204985 and 2B210912, and other appurtenances (“Vessel”), for

  exoneration from and/or limitation of liability as provided for in the Act of Congress embodied in

  46 U.S.C. Sections 30501 et seq. and pursuant to Rule F of the Supplemental Rules for Certain

  Admiralty and Maritime Claims of the Federal Rules of Civil Procedure, together with the statutes

  supplemental thereto and amendatory thereof, and also contesting its liability independently of the

  limitation of liability claims under said Acts, Treaty or Code for any loss, damages, deaths,

  personal injuries, damage or destruction of property or other occurrences arising from the incidents

  which occurred on or about September 14, 2024, on the navigable waterways of the United States

  as further described in the Petition stating the alleged facts and circumstances on which such

  exoneration from or limitation of liability is claimed;
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         And Petitioner having deposited with the Court as security for the benefit of Claims, an Ad

  Interim Stipulation of Value [ECF No. 10] supported by a Letter of Undertaking not less than or

  equal to the amount or value of its interest in the Vessel or the Vessel, as required by the rules of

  this Court and by the law;

         IT IS ORDERED that the Ad Interim Stipulation for the value of Petitioner’s interest in

  the Vessel, in the amount of $96,320.00, including costs of court and interest at the rate of six

  percent (6%) per annum from date hereof, and filed by Petitioner, is accepted as the Ad Interim

  Stipulation for the purpose of this action and is approved as to form and quantum.

         IT IS FURTHER ORDERED that Petitioner and any claimant who may properly become

  a party hereto may contest the amount of value of Petitioner’s interest in the Limitation Vessel as

  fixed in the Ad Interim Stipulation, subject to such increases or decreases in the amount of such

  Stipulation, together with adequate security, as the Court may from time to time order according

  to the rules and practices of this Court.

         IT IS FURTHER ORDERED that if the amount of the Ad Interim Stipulation is not

  contested by any claimant, the Stipulation shall stand as a Stipulation for Value and an appraisal

  by a commissioner will not be required.

         NOW, THEREFORE, it is ordered that a Monition will issue out of and under the seal of

  this Court against all persons or corporations claiming damage for any and all loss, destruction,

  damage, injuries, and/or death allegedly as a result of the occurrences and happenings recited in

  the Petition, to file their respective claims with the Clerk of this Court and to serve on or mail to

  the attorneys for Petitioner copies thereof on or before April 11, 2025; all persons or corporations

  so presenting claims and desiring to contest the allegations of the Petition shall file an answer to




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  the Petition in this Court and shall serve on or mail to the attorneys for the Petitioner copies thereof,

  or be defaulted.

          IT IS FURTHER ORDERED that a public notice of the Monition will be given by

  publication as required by Rule F of the Supplemental Rules for Certain Admiralty and Maritime

  Claims of the Federal Rules of Civil Procedure and the Local Rules of the United States District

  Court for the Southern District of Florida, once each week for four successive weeks in The Miami

  Herald prior to the date fixed for the filing of claims in accordance with Supplemental Rule F and

  that not later than the date of the second weekly publication, a copy of the notice to be mailed by

  Petitioner to every person or corporation known by the Petitioner to have a claim against Petitioner

  arising out of the incidents set forth in the Petition.

          IT IS FURTHER ORDERED that the commencement or further prosecution of any

  action, suit or proceeding in any court whatsoever, and the institution and prosecution of any suits,

  actions or legal proceedings, of any nature or description whatsoever, in any court whatsoever,

  except in these proceedings, in respect to any claim arising out of, or connected with the casualty

  set forth in the Petition herein, be and the same are STAYED AND RESTRAINED until the final

  determination of this proceeding.

          IT IS FINALLY ORDERED that the service of this Order as a restraining order in this

  District may be made in the usual manner as any other district of the United States by delivery by

  the Marshal of the United States for such District of a certified copy of this Order on the person or

  persons to be restrained or to their respective attorneys, or alternatively, by mailing a conformed

  copy of it to the person or persons to be restrained or to their respective attorney.




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        DONE AND ORDERED in Miami, Florida, this 11th day of March, 2025.



                                        ________________________________________
                                        CECILIA M. ALTONAGA
                                        CHIEF UNITED STATES DISTRICT JUDGE

  cc:   counsel of record




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